                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                           at KNOXVILLE

  AQUA-CHEM, INC.,                                       )
                                                         )
  Plaintiff,                                             )
                                                         )           Case No. 3:16-cv-553
  v.                                                     )
                                                         )           Judge Mattice
  BARIVEN, S.A., et al.,                                 )           Magistrate Judge Guyton
                                                         )
  Defendants.                                            )
                                                         )

                                                    ORDER

            Before the Court is Defendant PDVSA Services, B.V.’s Motion to Dismiss (Doc.

  13). For the reasons stated herein, Defendant’s Motion will be DENIED with leave to

  refile.

            Plaintiff Aqua-Chem, Inc., filed its Complaint on September 12, 2016, alleging

  that Defendants breached a contract for the sale of machine supplies. (Doc. 1 at 3–7).

  After stipulating to an extension of time to respond to the Complaint, Defendant PDVSA

  Services, B.V. (hereinafter “PDVSA” or “Defendant PDVSA”) filed its Motion to

  Dismiss.1 (Doc. 13). Therein, PDVSA argues that the Court must dismiss Plaintiff’s case

  because of a mandatory arbitration clause in the Parties’ contract, and because PDVSA

  has not been properly served. (Doc. 13 at 1). In the interest of brevity, the Court will

  proceed immediately to the Parties’ arguments regarding service of process.

            Plaintiff concedes that PDVSA has not been properly served in accordance with

  the Hague Service Convention, Nov. 15, 1965, 20 U.S.T. 361, T.I.A.S. No. 6638. (Doc. 21

  at 1). Instead, Plaintiff argues that it “should be granted liberal time to do so,” and


  1   Defendant Bariven, S.A. has yet to make an appearance in this case.



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  recounts its exhaustive attempts at effectuating service. (Id. at 1–3). Specifically, it

  claims that it

         has multiple methods of service of process in transit or requested from the
         Court to effectuate service. Aqua-Chem is attempting to serve process on
         Defendant PDVSA pursuant to the Hague Convention by transmitting
         process to the Netherlands’ Central Authority to then be served on PDVSA
         Services, B.V. Aqua-Chem is also attempting to serve process on
         Defendant Bariven, S.A. by four different methods. First, Aqua-Chem is
         attempting to serve process pursuant to the Hague Convention by
         transmitting process to Venezuela’s Central Authority to then be served on
         Bariven, S.A. Second, Aqua-Chem is attempting to serve process pursuant
         to the Hague Convention by transmitting process to the Netherlands’
         Central Authority to then be served on PDVSA Services, B.V. in its capacity
         as the purchasing agent of Bariven, S.A. Third, Aqua-Chem is attempting
         to serve process pursuant to the Federal Rules of Civil Procedure by
         serving the registered agent for non-party PDVSA Services, Inc., which has
         been determined by some courts to be Bariven, S.A.’s general agent in the
         United States. Fourth, Aqua-Chem is attempting to serve process pursuant
         to the Inter-American Convention on Letters of Rogatory by requesting
         issuance of letters of rogatory from this Court, which will be transmitted to
         the United States’ Central Authority, which will then transmit process to
         the Venezuela Central Authority to be served on Bariven, S.A. Aqua-Chem
         has used these various methods of service contemporaneously because the
         Defendants are owned by the government of Venezuela, which is currently
         in an economic and governmental crisis that complicates and delays
         service of process, and because the Defendants have routinely fought
         service of process in other cases brought against them.

  (Id. at 2–3) (citations omitted).

         Defendant PDVSA has not responded substantively to Plaintiff’s argument that it

  should be given extra time to effectuate service. Instead, it attacks Plaintiff’s proposed

  avenues of serving Defendants. (Doc. 22 at 4–5). The Court, however, finds these

  arguments premature. Because Plaintiff has shown good cause for an extension of time

  in which to effectuate service, that request will be GRANTED. Accordingly, the Court

  hereby EXTENDS Plaintiff’s deadline to properly serve all Defendants until May 31,

  2017. If at that time Plaintiff has yet to properly serve all Defendants, Plaintiff is

  DIRECTED to file a formal Motion for Extension of Time to Serve Process. Plaintiff is

                                              2

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  ON NOTICE that failure to comply with this Court’s order may result in dismissal of

  this action without prejudice for failure to effect service of process.

          Finally, because Defendant PDVSA has not been properly served, its Motion to

  Dismiss is premature. See, e.g., Stern v. Beer, 200 F.2d 794, 795 (6th Cir. 1952) (“In

  addition, this Court held in Maichok v. Bertha-Consumers Co., supra, that if the first

  service of process is ineffective, a motion to dismiss should not be granted, but the case

  should be retained for proper service later.”); see also King v. Taylor, 694 F.3d 650, 655

  (6th Cir. 2012) (“[W]ithout proper service of process, consent, waiver, or forfeiture, a

  court may not exercise personal jurisdiction over a named defendant. And in the

  absence of personal jurisdiction, a federal court is powerless to proceed to an

  adjudication.”) (internal quotation marks and citations omitted). Defendant PDVSA

  clearly has not consented to personal jurisdiction in this Court, nor has it waived or

  forfeited the right to challenge same, as evidenced by its Motion to Dismiss for

  insufficient service of process. The Court, therefore, is powerless at this time to grant

  Defendant PDVSA the relief it seeks. Accordingly, Defendant PDVSA’s Motion to

  Dismiss (Doc. 13) is hereby DENIED with leave to refile.2



          SO ORDERED this 15th day of February, 2017.



                                                               /s/ Harry S. Mattice, Jr._______
                                                               HARRY S. MATTICE, JR.
                                                            UNITED STATES DISTRICT JUDGE



  2 The Court expresses no opinion on the merits of Defendant PDVSA’s argument that this Court lacks

  subject matter jurisdiction over Plaintiff’s claims because of a mandatory arbitration clause, or on the
  merits of Plaintiff’s argument that the Court should stay this case pending arbitration. The Parties are free
  to reassert these arguments if and when Defendants have been properly served.

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